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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

 CODY ROSE,                                   )
                                              )
                               Plaintiffs,    )
                                              )
                       v.                     )       Cause No. 1:15-CV-1721-JMS-DKL
                                              )
 CITY OF MUNCIE,                              )
                                              )
                               Defendants.    )

                                             ORDER

        The parties having entered into a stipulation to dismiss this cause with prejudice, and the

 court having reviewed said stipulation and being otherwise duly advised finds the stipulation to

 be proper and that this cause should be dismissed.

        IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that this cause be and

 hereby is dismissed, with prejudice, each party bearing his own costs.




         January 25, 2017
 Dated: __________________________




 Service by ECF upon all ECF-registered counsel.
